






						NO. 12-08-00038-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


SAMUEL LEE WARD,§
		APPEAL FROM THE 114TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


	Samuel Lee Ward appeals the revocation of his community supervision following his
conviction for felony theft by check.  Appellant was sentenced to imprisonment for two years and
fined five thousand dollars.  In one issue, Appellant argues that the evidence is insufficient to support
the trial court's revocation of his community supervision.  We affirm.


Background

	Appellant was charged by indictment with felony theft by check (1) and pleaded "guilty."  The
matter proceeded to the punishment phase, following which the trial court found Appellant "guilty"
as charged and assessed his punishment at imprisonment for two years, probated for five years.

	On November 30, 2007, the State filed a motion to revoke Appellant's community
supervision.  In its motion, the State alleged that Appellant had violated multiple terms and
conditions of his community supervision.  Specifically, the State alleged, among other things, that
Appellant failed to report as directed by the supervision officer for the month of September 2007. 
	The trial court conducted a hearing on the State's motion on December 21, 2007.  At the
hearing, Appellant pleaded "true" to the State's allegation concerning his failure to report, but
pleaded "not true" to other allegations.  The trial court found that Appellant had violated multiple
terms and conditions of his community supervision as alleged including the State's allegation
concerning Appellant's failure to report.  The trial court revoked Appellant's community supervision
and sentenced Appellant to imprisonment for two years.  The trial court also imposed on Appellant
a five thousand dollar fine.  This appeal followed.


Evidentiary Sufficiency to Support

 Revocation of Community Supervision


	In his sole issue, Appellant contends that the trial court erred in revoking his community
supervision because the evidence is insufficient to support the revocation.  The only question
presented in an appeal from an order revoking community supervision is whether the trial court
abused its discretion in revoking the defendant's community supervision.  See Lloyd v. State, 574
S.W.2d 159, 160 (Tex. Crim. App. [Panel Op.] 1978).  The standard of proof in a revocation
proceeding is a preponderance of the evidence.  Id.  In order to satisfy its burden of proof, the State
must prove that the greater weight of the credible evidence before the trial court creates a reasonable
belief that a condition of community supervision has been violated as alleged in the motion to
revoke.  See Cobb v. State, 851 S.W.2d 871, 873 (Tex. Crim. App. 1993).  

	In the instant case, Appellant pleaded "true" to the State's allegation concerning his failure
to report.  A plea of true to any one of the alleged violations contained in a motion to revoke is
sufficient to support the trial court's order revoking community supervision.  See Moore v. State, 11
S.W.3d 495, 498 n.1 (Tex. App.-Houston [14th Dist.] 2000, no pet.).  Once a plea of "true" has been
entered, a defendant may not challenge the sufficiency of the evidence to support the subsequent
revocation.  Id.&nbsp;(citing Rincon v. State, 615 S.W.2d 746, 747 (Tex. Crim. App. [Panel Op.] 1981);
Cole v. State, 578 S.W.2d 127, 128 (Tex. Crim. App. [Panel Op.] 1979); Hays v. State, 933 S.W.2d
659, 661 (Tex. App.-San Antonio 1996, no pet.)).  Therefore, since Appellant pleaded "true" to the
State's allegation concerning his failure to report, he may not challenge the sufficiency of the
evidence to support the trial court's revocation of his community supervision.  We hold that the trial
court did not abuse its discretion in revoking Appellant's community supervision.  Appellant's sole
issue is overruled.


Disposition

	Having overruled Appellant's sole issue, we affirm&nbsp;the trial court's order revoking
Appellant's community supervision.




								    SAM GRIFFITH   

									   Justice



Opinion delivered November 26, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.















(DO NOT PUBLISH)
1.  The indictment contains three separate allegations that Appellant acquired merchandise by issuing or
passing checks when he did not have sufficient funds on deposit with the bank for payment in full of the checks.  The
indictment further alleges that Appellant obtained the merchandise pursuant to one scheme and continuing course of
conduct and that the aggregate amount of the merchandise stolen was between twenty and five hundred dollars.  See
Tex. Penal Code Ann. §§ 31.03, 31.06 (Vernon Supp. 2008); Richie v. State, 721 S.W.2d 560, 562 (Tex.
App.-Beaumont 1986, no pet.).  


